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  IPCPR 2019                                                                                           Au

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  Now that the 87th Annual IPCPR Convention & International Trade Show will be off icially kicking

  off this weekend, there will surely be no shortage of new cigars and accessories headed towards

  your local retailers. With brands coming out with new and enticing blends, it can be diff icult to

  make a selection. Our advice to cigar lovers is to not be af raid to try something outside of your

  comfort zone.



  We know for most of us, that is a statement that is easier said than done. The thought of

  spending money on a dud can discourage even the most adventurous smokers. With that

  thought in mind, if you are not quite ready to try something completely different, might we

  suggest exploring different blends within one of your favorite brands. Try out a lighter or richer

  blend than what you may be used to. This can give you a little more insight into your own pallet.

  You may f ind that your taste have changed or that you are able to decipher subtle similarities

  between lines within the brand you enjoy.



  Summer time evenings with f riends can provide the perfect setting for that something new. So

  don’t be shy, take a chance, you might f ind your new go to cigar. Happy summer smoking!                              




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  Cigar Etiquette - A Basic Guide
                                                                                            0 Comments
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  This basic cigar etiquette guide will help you create an enjoyable atmosphere not just for you but

  for others as well.



  1. Prep Work: When preparing your cigar you want to make sure you are using the correct

  accessories. No matter the cut you prefer, using the proper tools can help ensure a better

  smoking experience. Now that you have your cigar cut it is time to light your cigar. Whether you

  use a torch lighter or cedar spliff, the most important thing to remember is the technique. When

  lighting your cigar it is best to keep the foot of the cigar above the flame rather than directly in it.

  This ensures that you are able to enjoy the cigars intended flavor characteristics.



  2. Relax and enjoy: It is f inally time to sit back and enjoy your cigar. While smoking your cigar

  remember that it is not a race but more of a time to reflect on your own or build memories with

  f riends. When in a lounge setting be aware of your surroundings and courteous to those around

  you. There is nothing wrong with conversation, however having that conversation loudly escalate

  to an all out battle is completely unacceptable.



  3. Finishing up: After you have had your f ill of great cigars and conversation, it is now time to head

  out. To extinguish your cigar simply lay the cigar in the ashtray. The cigar will go out on it’s own,

  no need to snuff it out.



  So, there’s some food for thought to digest the next time you light-up your favorite cigar in our or

  another cigar lounge. Keep in mind that most of the cigar etiquette tips noted above apply to

  wherever you happen to be partaking of the leaf we love.                                                   




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            DIRECTIONS




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